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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 7 of 248. PageID #: 425527
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 8 of 248. PageID #: 425528
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 9 of 248. PageID #: 425529
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 10 of 248. PageID #: 425530
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 11 of 248. PageID #: 425531
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 12 of 248. PageID #: 425532
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 13 of 248. PageID #: 425533
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 16 of 248. PageID #: 425536
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 27 of 248. PageID #: 425547
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 30 of 248. PageID #: 425550
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 31 of 248. PageID #: 425551
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 33 of 248. PageID #: 425553
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 34 of 248. PageID #: 425554
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 35 of 248. PageID #: 425555
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 36 of 248. PageID #: 425556
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 37 of 248. PageID #: 425557
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 38 of 248. PageID #: 425558
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 40 of 248. PageID #: 425560
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 44 of 248. PageID #: 425564
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 45 of 248. PageID #: 425565
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 47 of 248. PageID #: 425567
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 50 of 248. PageID #: 425570
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 51 of 248. PageID #: 425571
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 60 of 248. PageID #: 425580
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 62 of 248. PageID #: 425582
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 63 of 248. PageID #: 425583
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 64 of 248. PageID #: 425584
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 66 of 248. PageID #: 425586
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 67 of 248. PageID #: 425587
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 68 of 248. PageID #: 425588
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 69 of 248. PageID #: 425589
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 75 of 248. PageID #: 425595
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 76 of 248. PageID #: 425596
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 88 of 248. PageID #: 425608
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 89 of 248. PageID #: 425609
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 90 of 248. PageID #: 425610
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 95 of 248. PageID #: 425615
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 105 of 248. PageID #: 425625
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 106 of 248. PageID #: 425626
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 112 of 248. PageID #: 425632
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 114 of 248. PageID #: 425634
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 115 of 248. PageID #: 425635
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 116 of 248. PageID #: 425636
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 120 of 248. PageID #: 425640
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 121 of 248. PageID #: 425641
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 122 of 248. PageID #: 425642
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 130 of 248. PageID #: 425650
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 144 of 248. PageID #: 425664
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 147 of 248. PageID #: 425667
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 155 of 248. PageID #: 425675
Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 156 of 248. PageID #: 425676
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 180 of 248. PageID #: 425700
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Case: 1:17-md-02804-DAP Doc #: 2817-1 Filed: 10/14/19 190 of 248. PageID #: 425710
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